Case 5:06-cr-00039-GEC      Document 121 Filed 05/30/07        Page 1 of 1    Pageid#:
                                       227



                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                      HARRISONBURG DIVISION


UNITED STATES OF AMERICA                            )
                                                    )
                                                    )      Case No. 5-06-cr-00039
                                                    )
v.                                                  )            ORDER
                                                    )
DEMARCUS CLARK                                      )    By: Glen E. Conrad
                                                    )    United States District Judge
             Defendant.                             )

      It appearing that the magistrate judge has submitted a report and

recommendation that the defendant’s guilty plea be accepted; and it further appearing

that no objections have been filed to said report and recommendation; and it appearing

proper, it is ORDERED that said report and the findings and recommendation

contained therein are hereby accepted in whole and the defendant will be adjudged

guilty of each offense to which the defendant entered a guilty plea. Acceptance of the

plea agreement is deferred, pending completion of a presentence report.

      The Clerk is directed to send certified copies of this Order to all parties.

                                              ENTER: May 30, 2007

                                              s/ Glen E. Conrad
                                              United States District Judge
